                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

NETCHOICE, LLC d/b/a NetChoice,           )
a 501(c)(6) District of Columbia organization,
                                          )
                                          )
                     and                  )
                                          )
COMPUTER & COMMUNICATIONS                 )
INDUSTRY ASSOCIATION d/b/a CCIA, a        )
501(c)(6) non-stock Virginia Corporation, )      Civil Action No. 1:21-cv-00840-RP
                                          )
       Plaintiffs,                        )
                                          )
       v.                                 )
                                          )
KEN PAXTON, in his official capacity as   )
Attorney General of Texas                 )
                                          )
       Defendant.                         )
_________________________________________ )



                Exhibit G –
            Technology Network’s
                Declaration
                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

NETCHOICE, LLC, d/b/a NETCHOICE, a
501(c)(6) District of Columbia organization;
and COMPUTER & COMMUNICATIONS
INDUSTRY ASSOCIATION d/b/a CCIA, a
501(c)(6) non-stock Virginia corporation,
                                                   Civ. Action No. 1 :21-cv-00840
Plaintiffs,

V.


KEN PAXTON, in his official capacity as
Attorney General of Texas,

Defendant.

              DECLARATION OF TECHNOLOGY NETWORK IN SUPPORT OF
                PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION

I, Servando Esparza, declare as fallows:

       1.       I am the Executive Director of Texas and the Southeast at Technology

Network. As TechNet's executive director for Texas and the Southeast, I develop

and manage TechNet operations in the Southeast region of the United States,

coordinating with TechNet members, TechNet's vice president of state policy and

government relations, and other TechNet staff. I work closely, in a bipartisan

fashion, with state legislators and their senior staff, policymakers in the executive

branch of state governments and at state regulatory bodies, and TechNet members

to lobby and advocate on behalf of TechNet's agenda before state legislatures.

       2.       Technology Network is the national, bipartisan network of technology


                                               1
CEOs and senior executives that promotes the growth of the innovation economy by

advocating a targeted policy agenda at the federal and 50-state level. TechNet's

diverse membership includes dynamic American businesses ranging from startups

to the most iconic companies on the planet and represents more than four million

employees and countless customers in the fields of information technology, e-

commerce, the sharing and gig economies, advanced energy, cybersecurity, venture

capital, and finance. TechNet is a 50l(C)(6) trade association based in Washington,

DC. TechNet represents its members at the state and federal levels of government

by advocating for or against legislation that affects its members.

         3.    TechNet's work is guided by our federal and state policy principles,

which cover a broad set of policy issues. At the state level, these include privacy and

security, energy, education and workforce development, financial technology,

diversity and inclusion, new technologies and the future of work, automated

vehicles, procurement, smart infrastructure, and taxation. TechNet's policy

principles are decided by TechNet members on an annual basis and outlined on

TechNet's website1. TechNet represents 87 companies including Facebook, Google,

Amazon, eBay, Apple, AT&T, DoorDash, Dell, HP, Lyft, Uber, Comcast,

Salesforce, Verizon, Yahoo and many others. Social media platforms as defined in

H.B. 20 would include several TechNet members including Facebook, Google, and


1
    See www.technet.org.
                                           2
Amazon (affected TechNet social media platform members"). Electronic mail

("Email") service providers as defined in the Act would include several TechNet

members including Google, Yahoo, Salesforce, Comcast, and Amazon ("affected

TechNet email service provider members")

      4.     Social media platforms understand that they have an obligation to

remove objectionable content, otherwise their users will be subjected to dangers like

images of child endangerment, financial scams, spam, and other harmful links.

Companies take this responsibility seriously, removing harmful content while

keeping their services open to a broad range of ideas. In the overwhelming number

of cases, removal of offensive content is accomplished as intended. However, the

sheer volume of content hundreds of millions of posts per day ensures that both

artificial intelligence and human reviewers at companies cannot get it right 100

percent of the time. Billions of transactions, after all, will inevitably lead to errors.

The Act will allow users to sue social media platforms merely for enforcing their

content policies standards that are laid out in detail on the platforms' websites.

       5.    The Act perversely creates an incentive for affected TechNet social

media platform members to not prohibit and remove any objectionable content on

their social media platforms in order to avoid being accused of violating Tex. Civ.

Prac. & Rem. Code $ 143A.002(a)(1)-(3) and being sued by a user. Tex. Civ. Prac.

& Rem. Code $ 143A.002(a)(1)-(3) would prohibit affected TechNet social media


                                            3
platform members from taking any moderation action against a user, a user's

expression, or a user's ability to receive the expression of another person based on

the viewpoint of the user or another person, the viewpoint represented in the user's

expression or another person's expression or a user's geographic location in Texas

except for a small number of limited occasions outlined in Tex. Civ. Prac. & Rem.

Code § 143A.006. Content including threatening or intimidating messages,

conspiracy theories, anti-vaccine misinformation, Holocaust denial, and white

supremacy is not explicitly allowed to be removed by social media platforms. If

affected TechNet social media platform members do remove that content, it could

violate the Act. This would cause real-world, irreversible harm in Texas'

communities and beyond.

      6.     Content moderation is at the core of the business models for social

media platforms because it is critical for their business that the platforms are safe

and family- and workplace-friendly. If affected TechNet social media platform

members are unable to maintain a family- and workplace-friendly platform, it will

affect their ability to attract advertisers that will not want to be associated with

objectionable content. Additionally, users may decide to leave the platform if

objectionable content that they report is not removed. Losing users and advertisers

will have a negative financial impact on affected TechNet members.

      7.     The Act runs counter to the American free speech law governing


                                          4
content liability on the internet, Section 230 of the federal Communications Decency

Act ("Section 230). Since its enactment in 1996, Section 230's two key provisions

have empowered online intermediaries to remove harmful content while providing

them with the immunity that commonly exists in other real world offline contexts -

for example, not holding a bookseller liable for libelous books, but rather the

individual who committed the libel. Due to Section 230, American companies have

the right to curate information on their service to meet the needs and expectations of

their customers. Section 230 has supported innovation across the internet while also

encouraging companies to be "Good Samaritans" by allowing them to "to restrict

access to or availability of material that the provider or user considers to be obscene,

lewd, lascivious, filthy, excessively violent, harassing, or otherwise objectionable,

whether or not such material is constitutionally protected."

        8.       It is estimated that over 320 billion spam emails are sent each day.

With increasing threats by spammers and cybercriminals, email service providers

take steps to protect email users from those threats. Tex. Business & Commerce

Code § 321.054 will make it difficult for email service providers to block spam and

other malicious threats, as the exceptions in statute do not cover all forms of threats.

With billions of spam emails sent each day, it is important that email service




2
  See Forbes https ://www.forbes.com/ sites/daveywinder/2020/0 5/03/this-surprisingly-simple-email-trick-will-stop-
spam-with-one-click/?sh=6 766166379 l

                                                         5
providers are able to block emails that may cause harm to email users and avoid the

unintended consequences that could result in an influx of spam and risk emails in

Texan's inboxes.

      9.    I declare under penalty of perjury under the laws of the United States

of America that the foregoing is true and correct.     Executed this 29th day of

September, 2021 in Austin, Texas.




                                      Executive Director, Texas & Southeast
                                      TechNet




                                         6
